        Case 3:09-cr-00095-JAJ-SBJ Document 58 Filed 11/20/09 Page 1 of 1
                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
               vs.                            )
                                              )
                                              )
LEVI SHELBY ROE,                              )
                                              )
                       Defendant.             )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of guilty to Count One of the Superseding Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the

guilty plea was knowing and voluntary as to that Count, and that the offense charged is supported

by an independent factual basis concerning each of the essential elements of such offense. I,

therefore, recommend that the plea ofguilty be accepted, that a pre-sentence investigation and report

be prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.




~ aJ fZtM~ 7iJ, J()c)j
Date                                               THOMASJ.
                                                   UNITED S A


                                             NOTICE

       Failure to file written objections to this Report and Recommendation within ten (l0) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
